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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

EQUAL EMPLOYMENT OPPORTUNITY                                               PLAINTIFF
COMMISSION,

v.                                   4:17cv624-BRW

R WINGS R WILD d/b/a
BUFFALO WILD WINGS,                                         DEFENDANT
_____________________________________________________________________________

                              CONSENT DECREE
_____________________________________________________________________________

                                       INTRODUCTION

       Plaintiff Equal Employment Opportunity Commission (Commission) and Defendant

R Wings R Wild d/b/a Buffalo Wild Wings (RWRW) reached an agreement to resolve this case

after entering into settlement negotiations. The Commission and RWRW jointly submit this

Consent Decree (Decree) for the Court’s approval and entry to resolve the claims of sex

discrimination filed under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

       The Commission, an agency of the United States of America, enforces federal laws

prohibiting discrimination in the workplace. Title VII of the Civil Rights Act of 1964 (Title VII)

represents one of the federal laws enforced by the Commission.

       The Commission filed this lawsuit on September 28, 2017, to remedy the alleged unlawful

employment practices in violation of Title VII. The Commission alleges in the Complaint that

RWRW failed to hire David Golden and a class of male applicants into bartender positions because

of their sex, male.

       This Decree does not constitute a finding on the merits of the case and does not constitute

an admission by RWRW of the allegations in the Complaint. The Commission and RWRW have

consented to entry of this Decree to avoid the additional expense and other burdens that continued
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litigation of this case would involve.

       This Decree constitutes the complete and exclusive agreement between the Commission

and RWRW with respect to the matters referred to in the Decree. No waiver, modification, or

amendment of any provision of this Decree shall be effective unless made in writing. The parties

have made no representations or inducements to compromise this action other than those recited

or referenced in this Decree. The Commission and RWRW stipulate the terms and conditions of

this Decree serve to effectuate the purposes of Title VII.

                                            FINDINGS

       This Court has jurisdiction over the subject matter of this action and the parties. After a

careful examination of the Decree, the pleadings, and the record, this Court finds the terms of this

Decree are adequate, fair, reasonable, equitable, and just. The terms of the Decree also serve the

public interest in eradicating discrimination based on sex. The Decree furthers the objectives of

Title VII and adequately protects the rights of the Commission, RWRW, Golden and a class of

male applicants, and the public interest.

       If the Court does not approve this Decree, the parties agree not to admit the Decree into

evidence in any subsequent proceeding in this lawsuit.

It is hereby ORDERED, ADJUDGED, AND DECREED:

                       SCOPE AND DURATION OF THIS DECREE

       This Decree resolves all issues and claims arising out of the Commission’s Complaint

which arose from Charge No. 493-2014-01341 filed by Golden. This Decree does not impact any

pending charges, if any, that may currently exist before the Commission in the United States.

Further, this Decree does not affect the Commission’s right to process any other pending or future

charges that any employee may file against RWRW and to commence civil actions on any such

charges.
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        The parties agree the United States District Court for the Eastern District of Arkansas,

Western Division, has jurisdiction over the Commission and RWRW and the subject matter of this

litigation for the duration of the Decree. Neither the Commission nor RWRW shall contest the

jurisdiction of this Court to enforce this Decree or the rights of the Commission to monitor

RWRW’s compliance with the Decree and to bring an enforcement action in the event RWRW

fails to comply with the terms of the Decree.

        Upon the date the Court enters the Decree, the provisions of this Decree become

immediately effective and binding upon the parties to this lawsuit for 18 months after the effective

date of this Decree.

        This Decree covers RWRW ‘s operations in Little Rock, Arkansas and Del City, Oklahoma

only.

                                       INJUNCTIVE RELIEF

        RWRW, its officers, agents, servants, managers, employees, and all persons in active

concert are enjoined from failing to hire males into bartender positions because of their sex.

        RWRW is enjoined from retaliating against any employee for participating in any

proceeding under Title VII.

        Within 10 days of the entry of this Decree, RWRW will post Attachment A for 18

months at RWRW’s Little Rock, Arkansas and Del City Oklahoma locations in a conspicuous

place that RWRW customarily posts notices to employees. RWRW will continue to

conspicuously post the most recent notice (poster) required by Title VII.

                                          TRAINING

        During the duration of this Decree, RWRW will conduct two mandatory training

sessions for management employees at the local and regional levels for the Little Rock,

Arkansas and Del City, Oklahoma locations.
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        Prior to each training session, RWRW’s Chief Operating Officer or other high-level

official will appear onsite or via video and announce at the training session to all management

employees that RWRW prohibits sex discrimination in hiring and prohibits sex

discrimination of any kind in the workplace.

        RWRW’s Chief Operating Officer or other high-level official will also note that

RWRW will discipline any employee, including terminating any employee, found engaging

in sex discrimination.

        RWRW will conduct the first training session within 90 days of the entry of the

Decree for all management employees at the local and regional levels for the Little Rock,

Arkansas and Del City, Oklahoma locations.

        RWRW will conduct the second training session within 16 months after entry of the

Decree for all management employees at the local and regional levels for the Little Rock,

Arkansas and Del City, Oklahoma locations.

        RWRW will retain a qualified consultant having specialized knowledge of Title VII

sex discrimination and retaliation to conduct a two-hour training session.

        Each training session will last two hours and will include the following:

        a. a discussion of Title VII of the Civil Rights Act of 1964,

        b. a discussion of what constitutes sex discrimination,

        c. a discussion of RWRW’s policy against sex discrimination

            and examples of sex discrimination that may violate Title VII.

        RWRW will maintain proof of attendance for each person trained.

        RWRW will notify the Commission of the date, location, and time of the training at

least 30 days prior to the training.



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                                        REPORTING

    RWRW will submit to the Commission three reports as follows:

    1.     RWRW will provide the first report within 30 days following the first training

           session.

                 the report will contain a copy of the training materials;

                 the location and date of the training,

                 the name(s) of the trainer(s), and

                     the names of the training attendees.

    2.     RWRW will provide the second report within nine months after the entry of

           the Decree. The report will contain:

                 the names of all applicants for bartender at the Little Rock, Arkansas

                  and Del City, Oklahoma locations; and

                     the name and hire date of any males hired and/or promoted from

                  within into bartender positions at the Little Rock, Arkansas location

                  and the Del City, Oklahoma location.

    3.     RWRW will provide the third report within 17 months after the entry of the

           Decree. The report will contain:

                 the names of all applicants for bartender at the Little Rock, Arkansas

                  and Del City, Oklahoma locations; and

                     the name and hire date of any males hired and/or promoted from

                  within into bartender positions at the Little Rock, Arkansas location

                  and the Del City, Oklahoma location.

    4.     RWRW           will    submit     the    report   to   EEOC-MEDO-decree-

           monitoring@eeoc.gov with a statement by RWRW that it submits the report
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                 as required by this Decree.

                           INDIVIDUAL AND CLASS RELIEF

       To resolve this matter, RWRW will pay a total of $30,000 in damages to three

claimants. The Commission will provide RWRW with the names, addresses, and monetary

amounts following the entry of the Decree. RWRW will mail cashier’s checks or business

checks to the claimants within 45 days after the entry of the Decree. RWRW will issue 1099

forms to the claimants for the monetary amounts paid to them.

       Late payment of the checks will be subject to the accrual of interest pursuant to 28

U.S.C. § 1961.

       RWRW will email photocopies of the front and back of all checks issued to the

claimants to EEOC-MEDO-decree-monitoring@eeoc.gov.

                              NOTIFICATION OF SUCCESSORS

       RWRW will provide prior written notice to any potential purchaser of RWRW’s

business, a purchaser of all or a substantial portion of RWRW’s assets, or to any other

potential successor, of the Commission’s lawsuit and the existence and contents of the

Decree. Any surviving entities that exist upon completion of the acquisition, merger, or

consolidation will remain fully liable for compliance with this Decree.

                                       ENFORCEMENT

If RWRW fails to comply with the terms of this Decree, in whole or in part, the Commission has

a right to enforce the obligations under the Decree. The Commission will provide 10 days’

notice to RWRW of any deficiency in complying with the terms of the Decree. If the parties are

unable to reach agreement regarding resolution of any such deficiency in RWRW’s compliance

with the terms of the Decree, the Commission will then have the option of petitioning the Court

for relief. Any notice by the Commission regarding and deficiency of the Decree will be emailed
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to Jeromy Howard at jhoward@howardcompanies.org and sent by regular mail to Jeromy

Howard, 8045 SW 36th St., Oklahoma City OK 73179.

                             MISCELLANEOUS PROVISIONS

       This Decree becomes effective immediately upon entry by the Court and remains in effect

for 18 months after the Effective Date.

       If the Court finds any provision of this Decree unlawful, the Court will sever only such

provision and the remainder of the Decree will remain in full force and effect.

       Each party will bear its own costs, attorneys’ fees, and expenses.

IT IS SO ORDERED this 8th day of January 2019.


                                             /s/ Billy Roy Wilson ________________
                                             UNITED STATES DISTRICT JUDGE


APPROVED FOR ENTRY BY THE PARTIES:

For Plaintiff                                               For Defendant
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EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION
Memphis District Office
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ATTACHMENT A
                                            NOTICE

1.     RWRW has agreed to post this notice for two years to reinforce the company’s
       commitment to Title VII.

2.     RWRW has agreed to conduct training at its Del City, Oklahoma location and its Little
       Rock, Arkansas location on the prevention of sex discrimination in hiring and employment.

3.     RWRW is committed to complying with Title VII.

4.     RWRW will not take any action against employees because they have exercised their rights
       under the law by filing charges with the EEOC and/or testified, assisted, or participated in
       any manner in any investigation, proceeding, or hearing under Title VII.

5.     If you believe you have been discriminated against because of sex or retaliated against,
       please follow the complaint procedures set forth in the employee handbook. You may also
       contact the EEOC at www.eeoc.gov

 



     THIS IS AN OFFICIAL NOTICE AND MUST NOT BE DEFACED BY ANYONE



       This notice must remain posted for 18 months from the date below and must not be altered,
       defaced, or covered by any other postings.



       ______________________________________                              __________
       JEROMY HOWARD                                                       DATE
 

 




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